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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Roor International BV, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:19−cv−05469
                                                      Honorable John Robert Blakey
Cool Stuff, Inc., et al.
                                    Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 18, 2020:


        MINUTE entry before the Honorable John Robert Blakey: The Court is in receipt
of Plaintiff's motion for default judgment [24]. No defendant has filed an appearance to
object to the motion. For the reasons explained in the accompanying order, Plaintiff's
motion for default judgment [24] is granted. Enter default judgment order. All dates and
deadlines are stricken. Civil case terminated. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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